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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

                                                  MDL No. 2804
IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                 Case No. 1:17-md-2804

THIS DOCUMENT RELATES TO:                         Judge Dan Aaron Polster
   The County of Summit, Ohio, et al. v.
   Purdue Pharma L.P., et al.,
   Case No. 18-op-45090

    The County of Cuyahoga, Ohio, et al. v.
    Purdue Pharma L.P., et al.,
    Case No. 17-op-45004

    City of Cleveland, Ohio, et al. v.
    AmerisourceBergen Drug Corp., et al.,
    Case No. 18-op-45132


            CVS HEALTH CORPORATION’S MOTION TO DISMISS
     THE AMENDED COMPLAINTS FOR LACK OF PERSONAL JURISDICTION

       Defendant CVS Health Corporation, pursuant to the Court’s April 11, 2018 Case

Management Order One, moves to dismiss the Second Amended Complaint and Jury Demand

filed by the County of Summit, Ohio, et al. on May 18, 2018; the Second Amended Complaint

filed by the County of Cuyahoga, Ohio, et al. on May 18, 2018; and the Second Amended

Complaint filed by the City of Cleveland, Ohio, et al. on May 18, 2018, for lack of personal

jurisdiction under Federal Rule of Civil Procedure 12(b)(2). A memorandum in support of this

motion is attached.
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Date: May 25, 2018                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 25, 2018, the foregoing was filed using the

Court’s CM/ECF filing system and will be served via the Court’s CM/ECF filing system on all

attorneys of record.


                                                   /s/ Eric R. Delinsky
                                                   Eric R. Delinsky
